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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION


NEIL DYER,

       Plaintiff,                                             Case No.: 5:18-CV-00323-JSM-PRL

v.

BANK OF NEW YORK MELLON and
JP MORGAN CHASE BANK, NA,

      Defendants.
___________________________________/

          PLAINTIFF'S OBJECTION TO DEFENDANT JPMORGAN CHASE'S
                       MOTION TO DISMISS COMPLAINT

       COMES NOW, Plaintiff Neil Dyer and files this Objection to Defendant JPMorgan

Chase Bank, N. A.'s ("Chase") Motion to Dismiss the Complaint and states as follows:


                    STANDARD OF REVIEW ON MOTION TO DISMISS

       In a ruling for a motion to dismiss brought pursuant to Fed. R. Civ. P. 12(b)(6), a court

must accept the factual allegations set forth in the complaint as true. Beepot v. J.P. Morgan

Chase Nat'l Corporate Servs., 57 F. Supp. 3d 1358, 2014 U.S. Dist. LEXIS 154304. In addition,

all reasonable inferences should be drawn in favor of the plaintiff.

       It is well established that courts must consider the complaint in its entirety, as well as

other sources courts ordinarily examine when ruling on rule 12(b)(6) motions to dismiss. Dunn v.

Castro, 621 F.3d 1196, 1205. The Complaint is required to contain sufficient factual matter to

state a claim that is plausible on its face. Ashcroft v. Iqbal, 129 S.Ct. 1937, 1949 (2009). This

standard is met where “the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 129 S.Ct. at

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1949. Here, the Complaint applies detailed facts and exhibits to show the Defendants conduct

has violated the rules and regulations specifically mentioned in the Complaint.

       Nonetheless, the plaintiff must still meet some minimal pleading requirements. Specific

facts are not necessary, the complaint is only required to give the defendant fair notice of what

the claim is and the grounds upon which it rests. Id. Plaintiff must allege enough facts to state a

claim to relief that is plausible on its face, which has been done in the Amended Complaint by

identifying the statutes violated, along with the relevant facts, and is based on the Defendants

collecting a debt that they knew or should have known was invalid. A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.

                                        INTRODUCTION

       Defendant asserts that this action stems from the foreclosure of a mortgage loan. That

statement may be partially accurate. However, this action is really an action against the

Defendant for fraud/forgery. Plaintiff only became aware of the availability of the technology

available for analysis of documents in 2017 and took immediate action to have the alleged

"Original Promissory Note" analyzed.

       Contrary to Defendant's claim in its Motion to Dismiss, Plaintiff's allegation that the

alleged "Original Promissory Note" provided to the Lake County Circuit Court in the foreclosure

case against Plaintiff, is not unsupported. It is supported by the Report of document analyst

expert Gary Michaels attached to Plaintiff's Complaint. Defendant has not produced any

evidence that Mr. Michaels' Report is incorrect.




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   The Florida Consumer Credit Protection Act ("FCCPA") relies on definitions developed

under the Fair Debt Collection Practices Act ("FDCPA"). See Goodin infra., and Bank of

America v. Siefker No. 4D14-1923, (Fla. 4th DCA 2016) where the Court stated:

       “Both acts generally apply to the same types of conduct, and Florida courts must give
       ‘great weight’ to federal interpretations of the FDCPA when interpreting and applying the
       FCCPA.” Read v. MFP, Inc., 85 So. 3d 1151, 1153 (Fla. 2d DCA 2012) (quoting §
       559.77(5), Fla. Stat.).

  Plaintiff does not claim that Defendant violated 559.72 by failing to provide a notice of

transfer. Plaintiff claims that Defendant violated 559.72 (9) by collecting on a debt that they

knew or should have known was not valid.

I. Defendant Committed Fraud on the Court and Plaintiff

       To establish proof of the Defendant's misdeeds and provide the Court with verifiable

evidence of the forged “Original Promissory Note”, Plaintiff has gone to extraordinary steps to

determine the Note’s authenticity and then provide the evidence to this Honorable Court.

       The Plaintiff offers the following: Plaintiff’s assignee, under the supervision of a Clerk

 of Court designee, viewed and then procured several high definition MultiSpectral UltraViolet

 and Near Infrared digital images of the alleged "Original Promissory Note” produced by

 Defendant in the foreclosure case against the Plaintiff. Plaintiff’s assignee then procured

 additional ultra high definition digital images by scanning the alleged "Original Promissory

 Note" filed with the Court. It is important to note, the document being photographed and

 scanned by Plaintiff was submitted by Defendant to the Lake County Circuit Court in the

 foreclosure case against Plaintiff (2013CA2850 "Foreclosure Case"), as part of a conspiracy, in

 a fraudulent attempt to wrongfully deprive a homeowner of their home. In furtherance of the

 scheme to defraud, the alleged "Original Promissory Note’s" authenticity was sworn to and




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 included as an exhibit in a verified complaint, and testified to at trial by Defendant's

 representative in the Foreclosure Case.

       The images procured by Plaintiff of the alleged "Original Promissory Note" were

 provided to Document Analyst Expert Gary Michaels for a comprehensive forensic document

 examination and evaluation. Mr. Michaels, using no less than 17 different independent of state

 of the art forensic evaluation techniques, examined the alleged "Original Promissory Note" then

 compiled those scientific forensic results into a comprehensive report. The results of the

 forensic examinations conducted revealed that the alleged "Original Promissory Note" is IN

 FACT not the Original Promissory Note at all but is moderately sophisticated digital recreation

 of the Original Promissory Note, using commonly available digital image creation and

 alteration software, cut and paste image manipulation programs, and Defendant then printed out

 the forgery using an inkjet printer. The Plaintiff’s purported “original wet ink signature”

 appearing on the alleged “Original Promissory Note” in question, when viewed under the Ultra

 Violet & Near-Infrared (UVIR) light spectrums reveal that the signature line and font letters

 located below the authorized signature were cut and "pasted" ("photoshopped") ON TOP OF or

 OVER THE TOP OF the Plaintiff’s purported signature on the document. To clarify further, if

 the alleged “Original Promissory Note” were in fact the ACTUAL “Original Promissory Note”,

 physically signed at the time of the loan’s origination, by the Plaintiff, with an ink pen,

 commonly referred to as bearing a "wet-ink" signature, the Plaintiff’s signature would appear

 ON TOP of the signature lines. As common sense or logic would dictate, it is physically

 impossible for a signatory to sign a document in such a manner so that their signature would

 appear UNDER the ink that was already printed on the surface of the document being signed.

 Interestingly, ONLY TWO WAYS exist in which this bizarre anomaly can be created, both are



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 forgery techniques. One is for the forger to sign a blank piece of copy paper in the precise area

 that the signature line printing will occur, then flip over and invert the signed copy paper, place

 it in the printer paper tray, and print out the document being forged. The second way is to

 digitally create the entire document, using any of a variety of image manipulation software

 programs, and “cut and Paste” a signature from a document already digitally stored from a

 previous digital scan, and place the signature line and accompanying font over the “cut and

 pasted” signature. This technique ensures proper font sizing, character spacing, pixel

 uniformity, and document alignment. Then the newly created forgery is printed out and

 submitted as an original to the Lake County Circuit Court. Both forgery techniques will appear

 to the naked eye to be an original document.

       It should come as no surprise that the ACTUAL “Original Promissory Note”, signed by

Plaintiff, was converted to an electronic file and then destroyed by the bank. Virtually every

major banking institution has followed that very procedure since Note securitization became the

norm in the late 1990s. In 2009, in an unexpected twist of fate, the Florida Bankers’ Association,

unwittingly and quite publicly, confessed to having full knowledge of and endorsing this industry

procedure. The following is an excerpt from the Florida Bankers’ Association comments to the

Florida Supreme Court in Case # SC 2009-1460, dated September 28, 2009:

       “In actual practice, confusion over who owns and holds the note stems less
       from the fact that the note may have been transferred multiple times than it
       does from the form in which the note is transferred. It is a reality of
       commerce that virtually all paper documents related to a note and mortgage
       are converted to electronic files almost immediately after the loan is closed.
       Individual loans, as electronic data, are compiled into portfolios which are
       transferred to the secondary market, frequently as mortgage-backed
       securities. The records of ownership and payment are maintained by a
       servicing agent in an electronic database. The reason "many firms file lost
       note counts as a standard alternative pleading in the complaint" is because
       the physical document was deliberately eliminated to avoid confusion
       immediately upon its conversion to an electronic file. See State Street Bank


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       and Trust Company v. Lord, 851 So. 2d 790 (Fla. 4th DCA 2003). Electronic
       storage is almost universally acknowledged as safer, more efficient and less
       expensive than maintaining the originals in hard copy, which bears the
       concomitant costs of physical indexing, archiving and maintaining security.
       It is a standard in the industry and becoming the benchmark of modern
       efficiency across the spectrum of commerce—including the court system.”

       Based on Mr. Michaels' findings, the requirements for entitlement to a foreclosure

judgment to provide the original “wet ink” Note to the Court were not met in the Foreclosure

Case. See F.S. 702.015(4) and Perry v. Fairbanks Capital Corp., 888 So. 2d 725(Fla. 4th DCA

2004). Defendant has committed fraud on the Court and Plaintiff by providing testimony and

affidavits in the Foreclosure case that a document was an "Original Promissory Note" when it

was not an original document.

       Defendant and their Counsel should have verified the trustworthiness of the alleged

"original" note. Instead, Defendant and their Counsel proceeded to collect on a debt for which an

"Original Promissory Note" was not possessed. Defendant and their Counsel knew, should have

known, or should be deemed to have known that the alleged "Original Promissory Note" filed

with the Court in the Foreclosure Case was not an original document.

       Defendant and their Counsel intended the Court and Plaintiff to act in reliance on their

misrepresentation which shows a reckless disregard for: the consequences to Plaintiff; the

integrity of the Court; and truthfulness to the tribunal.

       Florida Courts recognize the principle that a party who has been guilty of fraud or

misconduct in the prosecution or defense of a civil proceeding should not be permitted to

continue to employ the very institution it has subverted to achieve his or her ends. Carter v.

Carter 88 So.2d 153 (Fla. 1956).




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       Florida’s Fifth District Court of Appeals plainly stated their position when Defendant’s

rely on fraudulently created documents in foreclosure cases in Wells Fargo Bank Nat'l Ass'n v.

Bird 234 So. 3d 833 (Fla. 5th Dist. Ct. App. 2018) the court ruled:

       “Here, it is undisputed that Borrowers' signatures on the mortgage were forged.
       Consequently, there was no valid contract between Borrowers and Wells Fargo. See
       Jamnadas v. Singh, 731 So.2d 69, 70 (Fla. 5th DCA 1999) ("A forged mortgage is
       void, a legal nullity." (citing Se. Bank, N.A. v. Sapp, 554 So.2d 1193 (Fla. 1st DCA
       1989)).

       It is clear from applicable case precedent that fraud on the Court is a basis for the reversal

of a judgment and/or dismissal of a case with prejudice. See Kornblum v. Schneider, 609 So.2d

138, 139 (Fla. 4th DCA 1992); Bird v. Hardrives of Delray, Inc., 644 So.2d 89, 90 (Fla. 4th

DCA 1994); O'Vahey v. Miller, 644 So.2d 550 (Fla. 3d DCA 1994); Figgie Int'l, Inc. v.

Alderman, 698 So.2d 563 (Fla. 3d DCA 1997); Millan v. Williams, 655 So.2d 207, 208 (Fla. 3d

DCA 1995); Bologna v. Schlanger, 995 So. 2d 526, 528 (Fla. 5th DCA 2008); Granados v. Zehr,

979 So. 2d at 1158; Gehrmann v. City of Orlando, 962 So. 2d 1059, 1062 (Fla. 5th DCA 2007);

Kirby v. Adkins, 582 So.2d 1209 (Fla. 5th DCA 1991); Savino v. Florida Drive In Theatre

Management, Inc., 697 So.2d 1011 (Fla. 4th DCA 1997

       Over 140 years ago, in U.S. v. Throckmorton, 98 U.S. 61 (1878) the Court stated: “There

is no question of the general doctrine that fraud vitiates the most solemn contracts, documents,

and even judgments.” And the Court continued to state "Fraud vitiates everything, and a

judgment equally with a contract -- " Fraud trumps all. The Court should deny Defendant'

Motion to Dismiss accordingly.

II. The Complaint is not barred by Res Judicata




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       When there has been fraud upon the Court, the Court is not restricted by the doctrine of

Res Judicata. See Toledo Co. v. Computing Scale Co., 261 U.S. 399 (US Supreme Court 1923)

and Marshall v. Holmes, 141 U.S. 589 (US Supreme Court 1891).


       In Norfolk Southern Corp. v. Chevron, U.S.A., 279 F.Supp.2d 1250, 1260 (M.D. Fla.

2003), the Court sets out the applicable requirements for a case to be barred by res judicata:


               (1) the prior decision must have been rendered by a court of competent
               jurisdiction; (2) there must have been a final judgment on the merits; (3)
               both cases must involve the same parties or their privies; and (4) both
               cases must involve the same causes of action.

(citing Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1187 (11th Cir. 2003); In re Piper Aircraft

Corp., 244 F.3d 1289, 1296 (11th Cir. 2001). Also see Bartram v. US Bank, SC14-1265 (Florida

Supreme Court 2016) and Porter v. Saddlebrook Resorts, Inc., 679 So.2d 1212, 1214–15 (Fla.

2d DCA 1996).

       The fourth required criteria is absent in the case at bar since the causes of action are not

identical to the prior foreclosure lawsuit. The Plaintiff filed this lawsuit upon discovery of new

evidence of fraud by the Defendant.

       Since there is no record of any litigation of the facts upon which the Plaintiff has filed

this action and there is no proof that any of the allegations argued in Plaintiff’s Complaint were

factual issues litigated in a prior proceeding, res judicata does not apply to this action. Moreover,

the court in Concordia v. Bendekovic, 693 F.2d 1073, 1075 (11th Cir. 1982), noted:

               Res judicata, however, is not a defense under 12(b); it is an affirmative
               defense that should be raised under Rule 8(c). Moch v. East Baton Rouge
               Parish School Board, 548 F.2d at 596 n.3; Sherwood v. Pearl River Valley
               Water Supply District, 427 F.2d 717 (5th Cir.) (Godbold, J., dissenting),
               cert. denied, 400 U.S. 832, 91 S.Ct. 64, 27 L.Ed.2d 63 (1970); Guam
               Investment Co. v. Central Building, Inc., 288 F.2d 19, 24 (9th Cir.1961).



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       The requirements for a claim to be barred by collateral estoppel are substantially similar

to the requirements for application of res judicata. See In Re St Laurent, 991 F. 2d 673 (11th Cir.

1993) The requirements are not met as to this case since the issue at stake is not identical to the

one decided in the prior proceeding and the issue was not litigated in the prior proceeding. The

Court will find upon review of the Foreclosure Case that the issues addressed by this lawsuit

were not argued in the foreclosure case.

       Additionally, the parties in the two cases are not identical. JPMorgan Chase Bank, N.A.

was not a party to the Foreclosure Case, therefore, res judicata is not applicable to bar this

lawsuit. Therefore, Defendant's Motion to Dismiss must be denied.

III. LAWSUIT IS NOT BARRED BY STATUTE OF LIMITATIONS
       The FCCPA claim should not be dismissed as outside the statute of limitations. For

purposes of the FDCPA, the “Discovery Rule” applies and the statute does not begin to run until

the plaintiff “discovers” the alleged violation, rather than from the date of occurrence of the

activity that gives rise to the cause of action. Skinner v. Midland Funding, LLC (Case No 16-

4522, U.S. District Court, ND, IL 2017) In Skinner the Court stated: “Dismissing a complaint as

untimely at the pleading stage is an unusual step, since a complaint need not anticipate and

overcome affirmative defenses, such as the statute of limitations.” Cancer Found., Inc. v.

Cerberus Capital Mgmt., LP, 559 F.3d 671, 674 (7th Cir. 2009). However, “dismissal is

appropriate when the plaintiff pleads himself out of court by alleging facts sufficient to establish

the complaint’s tardiness.” Id. at 674-75. “As long as there is a conceivable set of facts,

consistent with the complaint, that would defeat a statute-of limitations defense, questions of

timeliness are left for summary judgment, at which point the district court may determine

compliance with the statute of limitations based on a more complete factual record.” Sidney

Hillman Health Ctr. of Rochester v. Abbott Labs., Inc., 782 F.3d 922, 928 (7th Cir. 2015)

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 (parenthetical omitted). “The rule that postpones the beginning of the limitations period from the

 date when the plaintiff is wronged to the date when he discovers he has been injured is the

 discovery rule of federal common law, which is read into statutes of limitations in federal-

 question cases in the absence of a contrary directive from Congress.” Cada v. Baxter Healthcare

 Corp., 920 F.2d 446, 450 (7th Cir. 1990) (internal quotations and parenthetical omitted). “[T]he

 FDCPA contains no such provision signaling congressional intent to preclude application of the

 discovery rule to that Act.” Johnson-Morris v. Santander Consumer USA, Inc., 194 F. Supp. 3d

 757, 763 (N.D. Ill. 2016) (holding that the discovery rule applies to an FDCPA claim); see

 Greenfield v. Kluever & Platt, LLC, No. 09 C 3576, 2010 WL 604830, at *2 (N.D. Ill. Feb. 16,

 2010) (denying a motion to dismiss based on the statute of limitations, applying the discovery

 rule pursuant to Cada, and noting that Congress was silent on the issue of whether the discovery

 rule applied to the FDCPA.)

        The FCCPA has a 2-year statute of limitations. As indicated by Defendant in its Motion

 to Dismiss, it is intended to be a state version of the FDCPA, and explicitly defers to

 interpretations of the FDCPA in which the courts have interpreted that the statute of limitations

 begin to run when the plaintiff “discovers” the alleged violation, rather than from the date of

 occurrence of the activity that gives rise to the cause of action. Therefore, the FCCPA claim was

 filed well within the applicable statute of limitations.

        The general rule under Florida law as to a fraud claim is that the statute of limitations

 begins to run when the plaintiff discovers that a fraud occurred or, in the exercise of reasonable

 diligence, should have discovered the fraud. Generally, a cause of action accrues, and the statute

 of limitations begins to run, when facts come into existence that authorize a claimant to seek a

 judicial remedy. The discovery rule is a limited exception which tolls the accrual of a cause of



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 action which applies if, “the nature of the injury incurred is inherently undiscoverable and the

 evidence of injury is objectively verifiable.”

        Plaintiff was unaware of the scientifc technology available for the analysis of documents

 until late in 2017 and immediately took action to view the alleged original note with the Lake

 County Clerk. Plaintiff received the Gary Michaels' Report in February 2018. All of Plaintiff's

 claims were made within one (1) year of the receipt of the Michaels' Report. In Davis v.

 Monahan, SC 01-1157 (Florida Supreme Court 2002) the Supreme Court stated:

        “The Florida Legislature has stated that a cause of action accrues or begins to run when
        the last element of the cause of action occurs. An exception is made for claims of fraud
        and products liability in which the accrual of the causes of action is delayed until the
        plaintiff either knows or should know that the last element of the cause of action
        occurred.1 Section 95.031, Florida Statutes (Supp.2000), provides:95.031 Computation
        of time.-Except as provided in subsection (2) and in s. 95.051 and elsewhere in these
        statutes, the time within which an action shall be begun under any statute of limitations
        runs from the time the cause of action accrues.(1) A cause of action accrues when the
        last element constituting the cause of action occurs. ․(2)(a) An action for fraud under s.
        95.11(3) must be begun within the period prescribed in this chapter, with the period
        running from the time the facts giving rise to the cause of action were discovered or
        should have been discovered within the exercise of due diligence, instead of running from
        any date prescribed elsewhere in s. 95.11(3), but in any event an action for fraud under s.
        95.11(3) must be begun within 12 years after the date of the commission of the alleged
        fraud, regardless of the date the fraud was or should have been discovered.(b) An action
        for products liability under s. 95.11(3) must be begun within the period prescribed in this
        chapter, with the period running from the date that the facts giving rise to the cause of
        action were discovered, or should have been discovered within the exercise of due
        diligence, rather than running from any other date prescribed elsewhere in s. 95.11(3),
        except as provided within this subsection.(Emphasis added.)”

        Florida Courts recognize that case law supports the proposition that there is no due

 diligence requirement where the adverse party knowingly puts on or uses false testimony.

 See McDonald, 544 So.2d at 264; Roberto v. Allstate Ins. Co., 457 So.2d 1148, 1150 (Fla. 3d

 DCA 1984). The Appellate Court expanded on the previous settled law in Wolff v. Star Realty

 Trust 80 So. 3d 345 (Fla. Dist. Ct. App. 2011):




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        “Ms. Wolfe contends that the trial court abused its discretion by denying her
        Motion to Vacate without without conducting an evidentiary hearing. We agree.”

        Plaintiff's claims are well within the applicable statutes of limitations and Defendant's

 Motion to Dismiss should be denied.

 IV. LITIGATION PRIVILEGE DOES NOT BAR THIS CASE

          The first key in determining the viability of Defendant's claim of protection, by
 asserting a defense of Litigation Privilege, is to ascertain the default status of Plaintiff’s loan in
 question at the time Defendant' initiated their attempt to proceed with collection. Plaintiff
 submits that Defendant is a debt collector under the meaning of the FDCPA, which definition
 applies for purposes of claims pursuant to the FCCPA. See Yarney v. Ocwen Loan Servicing,
 LLC 929 F.Supp.2d 569 (W.D. Va. 2013) Under the statute, “[f]or an entity that did not originate
 the debt in question but acquired it and attempts to collect on it, that entity is either a creditor or
 a debt collector depending on the default status of the debt at the time it was acquired.” Bridge v.
 Ocwen Federal Bank, FSB, 681 F.3d 355, 359 (6th Cir.2012). “The same is true of a loan
 servicer, which can either stand in the shoes of a creditor or become a debt collector, depending
 on whether the debt was assigned for servicing before the default or alleged default occurred.”
 Id. (citations omitted). Accordingly, while there is no statutory definition for loan servicer under
 the FDCPA, “a loan servicer will become a debt collector under 1692a(6)(F)(iii) if the debt was
 in default or treated as such when it was acquired.” Id. at 360 n. 4. See also Castrillo v. American
 Home Mortg. Servicing, Inc., 670 F.Supp.2d 516, 524 (E.D.La.2009); See Kaplan v. Assetcare,
 Inc., 88 F.Supp.2d 1355, 1360–61 (S.D.Fla.2000) "Bank of America contends, however, that it is
 not a debt collector. A mortgage servicing company is a debt collector under the FDCPA if it
 acquired the loan at issue while the loan was in default." Williams v. Edelman, 408 F.Supp.2d
 1261, 1266 (S.D.Fla.2005)".) Also see Goodin v. BANK OF AMERICA, N.A., 114 F.Supp.3d
 1197 (US District. Court for the Middle District of Florida 2015); Justice v. Ocwen Loan
 Servicing, LLC, 2014 WL 526143, *4 (S.D. Ohio Feb. 7, 2014) where the Court stated: “[I]f
 Ocwen acquired the servicing for the Loans before they were in default, then it is not a debt
 collector under the FDCPA. But if Ocwen acquired the servicing for the Loans after they were in
 default, it is a debt collector under the FDCPA.”); Yarney v. Ocwen Loan Servicing, LLC, 929
 F.Supp.2d 569, 575 (W.D.Va.2013) (“At the time Ocwen became the servicer on Plaintiff’s


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 home loan, the loan was already in default. Therefore, Ocwen is a debt collector seeking to
 collect an alleged debt for the purposes of FDCPA liability in this case.”); Comer, supra, at *3
 (“Chase, as a mortgage servicing company, is not a debt collector unless Comer’s loan was in
 default at the time Chase took over the servicing.”); Parker v. BAC Home Loans Servicing LP,
 831 F.Supp.2d 88, 93 (D.D.C.2011) (“[I]f BAC was handling the loan before it went into default,
 it is not a debt collector in this case under the Act.”); Portley v. Litton Loan Servicing LP, 2010
 WL 1404610, *4 (E.D.Pa. Apr. 5, 2010) (“Because Plaintiff’s mortgage loan was already in
 default at the time Defendant obtained the assignment, Defendant is a ‘debt collector’ for the
 purpose of the FDCPA.”); Castrillo v. American Home Mortgage Servicing, Inc., 2010 WL
 1424398, *5 (E.D.La. Apr. 5, 2010) (“[A]n ‘exclusion’ to the general definition of a debt
 collector applies to any person who attempts to collect a debt that was not in default at the time it
 was ‘obtained.’ AHMSI obtained its servicing rights in Castrillo’s mortgage loan in April 2008,
 after Castrillo’s loan was in default, and therefore AHMSI is not excluded from the general
 definition of a debt collector by § 1692a(6)(F)(iii).”), reconsideration denied, 2010 WL 1838061
 (E.D. La. May 5, 2010); and Martin v. Select Portfolio Serving Holding Corp., 2008 WL
 618788, *4 (S.D.Ohio Mar. 3, 2008) (“A servicing company is subject to the FDCPA [ ] if the
 loan was in default at the time the servicing company acquired the loan account.”) with, e.g.,
 Loveless v. Bank of America, N.A., 2014 WL 4437576, *9 (M.D. Pa. Sept. 9, 2014) (“I conclude
 that the plaintiffs have alleged sufficient facts from which it can reasonably be inferred that the
 mortgage was in default at the time of the assignment, and, as such, the defendants fall within the
 definition of debt collectors.”); Prickett, supra, 946 F.Supp.2d at 1249. "Stated differently one
 more time, a party who acquires a debt after the debt is already in default, as alleged in the
 complaint here (or, at least, as can be inferred from the complaint allegations), “becomes a ‘debt
 collector’ under the statute.” Deutsche Bank Trust Co. Americas v. Garst, 989 F.Supp .2d 1194,
 1201 (N.D.Ala.2013); see also Federal Trade Comm’n v. Check Investors, Inc., 502 F.3d 159,
 173 (3rd Cir.2007) (“In Pollice, we relied on [§ 1692a(6)(F)(iii) ] … to hold that one attempting
 to collect a debt is a ‘debt collector’ under the FDCPA if the debt in question was in default
 when acquired.”), cert. denied, 555 U.S. 1011, 129 S.Ct. 569, 172 L.Ed.2d 429 (2008). . .
 .Defendant’s contention that its failure to fall within the exclusion set forth in § 1692a(6)(F)(iii)
 “does not eliminate the initial requirement for a ‘debt collector’ set out in the first sentence of
 1692a(6)[,]” (Doc. 22, at 1 & 2) should, as just indicated, be rejected. Not only is this argument


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 contrary to the numerous cases previously cited in this decision, it is also contrary to the Sixth
 Circuit’s holding in Bridge v. Ocwen Federal Bank, FSB, 681 F.3d 355 (2012) that “ the
 definition of debt collector pursuant to § 1692a(6)(F)(iii) includes any non-originating debt
 holder that either acquired a debt in default or has treated the debt as if it were in default at the
 time of acquisition.” Id. at 362 (emphasis supplied); see also Id. at 359 (“If an entity which
 acquires a debt and seeks to collect it cannot be both a creditor and a debt collector, can it be
 neither? We answer no. To allow such an entity to define itself out of either category would
 mean that the intended protection of the FDCPA is unavailable. Both the statutory language and
 legislative history of the FDCPA establish that such an entity is either a creditor or a debt
 collector and its collection activities are covered under the FDCPA accordingly. The distinction
 between a creditor and a debt collector lies precisely in the language of § 1692a(6)(F)(iii). For an
 entity that did not originate the debt in question but acquired it and attempts to collect on it, that
 entity is either a creditor or a debt collector depending on the default status of the debt at the time
 it was acquired. The same is true of a loan servicer, which can either stand in the shoes of a
 creditor or become a debt collector, depending on whether the debt was assigned for servicing
 before the default or alleged default occurred.” (emphasis supplied)); F.T.C. v. Check Investors,
 Inc., supra, 502 F.3d at 173 (“Congress has unambiguously directed our focus to the time the
 debt was acquired in determining whether one is acting as a creditor for purposes of the
 FDCPA")

        As indicated in Defendant's Motion to Dismiss, Defendant was not the original lender
 and took interest in the loan after it was allegedly in default.

     Florida Statute Section 559.72     states in pertinent part:

     Prohibited practices generally.—In collecting consumer debts, no person shall...

     (9) Claim, attempt, or threaten to enforce a debt when such person knows that the debt is
     not legitimate, or assert the existence of some other legal right when such person knows that
     the right does not exist.

     In Blevins v. Hudson & Keyse, Inc., 395 F. Supp. 2d 662 (S.D. Ohio 2004) the Court stated
 that the state law litigation privilege does not apply to the case at bar. In Blevins the complaint
 was made pursuant to the FDCPA. The Court stated in pertinent part:



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                Does the FDCPA abrogate this firmly rooted state law privilege? As originally
                passed, the statute excluded "any attorney-at-law collecting a debt as an attorney
                on behalf of and in the name of a client" from the definition of "debt collector."
                Pub.L. 95-109, sec 803(6) (F). Plainly Congress intended not to regulate debt
                collection litigation when conducted by attorneys. But Congress repealed the
                attorney exemption in 1986 without creating a litigation or litigation-related
                exception for attorneys OR for traditional debt collectors.


                 In Heintz v. Jenkins, 514 U.S. 291, 115 S. Ct. 1489, 131 L. Ed. 2d 395 (1995), the
        Supreme Court unanimously held that the Act applies to lawyers' "litigation activities."
        There, a bank's attorney filed suit against a debtor and, during the course of the litigation,
        sent a letter to the debtor's attorney trying to settle the case. The complaint and the letter
        both erroneously sought recovery of an amount for insurance coverage which turned out
        to be beyond the scope of the original loan agreement. The debtor then sued the attorney
        under several provisions of the FDCPA. The Seventh Circuit held the attorney was
        subject to the FDCPA, disagreeing with the Sixth Circuit's contrary opinion in Green v.
        Hocking, 9 F.3d 18 (6th Cir.1993). The Supreme Court affirmed the Seventh Circuit,
        rejecting the rationale set forth in Green that subjecting litigation-related activities to
        FDCPA liability would create intolerable conflicts. If an attorney can be liable for
        "litigation activities" which can include filing an affidavit, then certainly H & K is
        subject to the same liability."

    In addition, in Debrincat v. Fischer, SC 15-1477, 42 Fla. Weekly S141a (Florida Supreme

 Court 2017), the Florida Supreme Court made it clear that litigation privilege does not apply to

 bar all actions arising from conduct in prior litigation. The Court stated:

        However, this Court has explained that it's "recognition of the (litigation) privilege
        derived from a balancing act of two competing interests- the public interest in allowing
        litigants and counsel to freely and zealously advocate for their causes in court versus
        protecting the rights of individuals, including the right of an individual to maintain his or
        her reputation and not be subjected to slander or malicious conduct." Delmonico, 116 So.
        3d at 1217.

    Also, in his concurring opinion in Echevarria, McCalla, Raymer, Barrett & Frappier etc. v.

 Cole, SC05-564 (Florida Supreme Court 2007), cited by Defendant as authority in its Motion to

 Dismiss, Justice Wells stated "Therefore, the litigation privilege should not be structured so as to

 deprive those who are intended to have the protection of the law in respect to communications

 from having that protection."



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      Litigation Privilege was never intended to, nor does the law in anyway provide protection

 for, any party that commits fraud upon the Court. For a party involved in litigation to attempt

 claim immunity from sanctions, penalties, or even criminal prosecution, for fraudulent acts

 committed in furtherance of any legal proceeding flies in the face of the tenets upon which our

 legal system was founded. The Defendant's claims of protection under Litigation Privilege are

 rich with irony as are their fraudulent activities, in presentation a completely fabricated, cut and

 paste forged version of the Plaintiff’s alleged "Original Promissory Note" to the Court in the

 Foreclosure Case against in an illegal attempt to unlawfully foreclose on the Plaintiff’s property.

         Litigation Privilege does not apply to require the dismissal of this case, therefore,

 Defendant’s Motion to Dismiss should be denied.

 V.      COMPLAINT STATES A VALID CLAIM AND DEFENDANT IS A DEBT
         COLLECTOR
         The Complaint should not be dismissed for failure to state a claim because the Complaint

 satisfies the 12(b) required standards. It is well established that courts must consider the

 complaint in its entirety, as well as other sources courts ordinarily examined when ruling on rule

 12(b)(6) motions to dismiss. Dunn v. Castro, 621 F.3d 1196, 1205. The Complaint is required to

 contain sufficient factual matter to state a claim that is plausible on its face. Ashcroft v. Iqbal,

 129 S.Ct. 1937, 1949 (2009). This standard is met where “the plaintiff pleads factual content that

 allows the court to draw the reasonable inference that the defendant is liable for the misconduct

 alleged.” Iqbal, 129 S.Ct. at 1949. Here, the Complaint applies detailed facts and exhibits to

 show the Defendant' conduct of providing testimony and affidavits in the Foreclosure Case based

 on a forged note, which is misrepresentation/fraud. The claim as to Defendant's forgery is not

 totally without merit as stated in Defendant's Motion to Dismiss and are in fact supported by

 valid competent, reliable evidence, the Report of Gary Michaels.


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        Defendant had a duty of due diligence to investigate beyond the mere allegations of the

 authentication of the instrument prior to defrauding others for a monetary gain. Blue v. United

 States Dep’t of the Army, 914 F.2D 525, 542 (4th Cir. 1990). The Defendant is responsible, and

 not exempt, for statements and representations made when inducing the conduct of another for a

 monetary gain. “The court concluded that the doctrine of caveat emptor does not exempt the acts

 of fraud or the responsibility for statements and representations which induces a purchaser to act

 when, under the circumstances, the statements amount to fraud in the legal sense.” Johnson v.

 Davis, 480 So. 2d 625, 1985 Fla. LEXIS 4023, 10 Fla. L. Weekly 583. See also Futura Realty v.

 Lone Star Bldg. Centers, Inc., 578 So. 2d 363, 627, 1991 Fla. App. LEXIS 3294, 12 A.L.R.5th

 1087, 16 Fla. L. Weekly D 960. Here, the Defendant participated in a foreclosure against

 Plaintiff improperly affecting the Plaintiff’s interest in his property. Defendant acted in bad faith

 for a monetary gain when Defendant knew or should have known the alleged "Original

 Promissory Note" was a forgery.

        Defendant's Motion to Dismiss should be denied because the Complaint states a valid

 claim and in no way relies upon on mere legal conclusions but instead contains a detailed factual

 account of Defendant's illegal activity which establishes their liability for violations of both

 misrepresentation and the FCCPA. Defendant has provided absolutely no evidence to refute the

 Report and Affidavit of Gary Michaels. The Court should deny the Defendant's Motion to

 Dismiss.

        Defendant is a debt collector for purposes of the FCCPA as a party collecting on a debt

 taken after the debt was in default. Defendant is not the original lender of the Plaintiff's loan. The

 loan was issued by Homebanc Mortgage Corporation. Defendant alleges that the Plaintiff




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 defaulted on the loan in 2011. Defendant took the loan and became the loan servicer after it was

 in default, therefore, Defendant's Motion to Dismiss should be denied.

 VI.      PLAINTIFF REQUESTS ONE-TIME AMENDMENT PURSUANT TO FED.
          RULE CIV. PROCEDURE RULE 15
          As indicated by the facts of this case, Plaintiff has valid claims against Chase at least on

 an equitable basis. Fed. R. Civ. P. Rule15 gives the Court authority to permit a party to amend

 their pleadings. The Rule states: "The court should freely give leave when justice so requires."

 Plaintiff asserts justice so requires in the case at bar. In the event the Court determines that there

 are deficiencies in the Complaint, then Plaintiff requests the Court dismiss the Complaint without

 prejudice and permit Plaintiff to amend the Complaint in the interest of equity and justice.

        A one-time amendment to a Complaint should be granted unless it clearly appears the

 amendment would prejudice the opposing party, the privilege to amend has been abused, or the

 amendment would be futile. e.g. Bill Williams Air Conditioning & Heating v. Haymarket Coop.

 Bank, 592 So. 2d 302, 305 (Fla. 1st DCA 1992), rev. dismissed, 598 So. 2d 76 (Fla. 1992).

 Also see Morgan Co. Inc. v. Orange County, 818 So. 2d 640 (Fla. 5th DCA 2002); Greene v.

 Well Care HMO, Inc., 778 So. 2d 1037 (Fla. 4th DCA 2001).

          Plaintiff has not yet amended the Complaint and a responsive pleading has not been

 filed. If the Court is inclined to dismiss Plaintiff’s Complaint, Plaintiff requests leave from the

 Court to file an Amended Complaint.

       WHEREFORE, for the foregoing reasons, Plaintiff requests the Court deny Defendant's

 Motion to Dismiss and / or in the alternative to permit leave from the Court for Plaintiff to

 amend the Complaint.

                                                Respectfully Submitted,

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                                              /S/Andrea M. Roebuck_
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

 via the CM/ECF system to the following parties: Gina L. Bulecza, Esq., McGlinchey Stafford,

 PLLC,     10407    Centurion      Parkway   N.,   Suite   200    Jacksonville,   FL   32256,

 gbulecza@mcglinchey.com mnew@mcglinchey.com; Matthew D. Morton, McCalla Raymer,

 LLC., 201 N. Franklin St. Ste. 1375 Tampa, FL 33602, matthew.morton@mccalla.com, on

 this 7th day of September 2018.

                                                           /S/Andrea M. Roebuck
                                                           Andrea M. Roebuck Esq.




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